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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-81160-CIV-SMITH

  APPLE INC.,

                      Plaintiff,

          v.

  CORELLIUM, LLC,

                      Defendant.


                                   FIFTH AMENDED TRIAL ORDER

         Pursuant to Administrative Order 2021-12, this case is reset for the two-week trial calendar

  beginning on May 10, 2021. The Calendar Call will be held at 9:00 a.m. on May 4, 2021.

         The Parties shall file their joint pretrial stipulation, proposed joint jury instructions,

  proposed joint verdict form, and/or proposed findings of fact and conclusions of law no later than

  30 days before Calendar Call. When the parties cannot agree on specific jury instructions, the

  submitted instructions shall clearly indicate which party has proposed the specific instruction.

         Electronic versions of documentary exhibits and Certificates of Compliance shall be filed

  no later than five days before Calendar Call.

         If the parties settle this matter before trial, the parties must notify the Court no later than

  3 p.m. on the Friday before trial is set to commence to avoid paying the costs of the jury. If the

  parties do not notify the Court of settlement by that time, the parties shall jointly reimburse the

  Court for the cost of the jury.

         DONE AND ORDERED in Fort Lauderdale, Florida this 12th of February, 2021.
